






Opinion issued January 11, 2007

 











In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-06-01160-CR

____________


VICTOR ANTONIO GARCIA, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the 182nd District Court 

Harris County, Texas

Trial Court Cause No. 1071851






MEMORANDUM  OPINION

	We lack jurisdiction to hear this appeal.  The trial court sentenced appellant,
Victor Antonio Garcia, and signed a final judgment in this case on November 2, 2006.
Appellant did not file a motion for new trial, and therefore the deadline for filing a
notice of appeal was 30 days after sentencing.  See Tex. R. App. P. 26.2(a)(1). 
Because the thirtieth day after sentencing, December 2, 2006, fell on a weekend, the
deadline for filing notice of appeal was Monday, December 4, 2006.  Tex. R. App. P.
4.1(a), 26.2(a)(1).

	Appellant filed a notice of appeal on December 11, 2006, seven days after
the deadline.  Notice of appeal was deposited in the mail on December 8, 2006
according to the postmark on the copy of the envelope included in the clerk's record. 
Because the notice of appeal was mailed after the filing deadline, it did not comply
with Rule 9.2 of the Texas Rules of Appellate Procedure, the "mailbox rule."  See
Tex. R. App. P. 9.2(b).  Although the notice of appeal was filed within the 15-day
time period for filing a motion for extension of time to file notice of appeal, no such
motion for extension of time was filed.  See Tex. R. App. P. 26.3.

	An untimely notice of appeal fails to vest the appellate court with
jurisdiction to hear the case.  Slaton v. State, 981 S.W.2d 208, 209-10 (Tex. Crim.
App. 1998); Olivo v. State, 918 S.W.2d 519, 522 (Tex. Crim. App. 1996); Douglas
v. State, 987 S.W.2d 605, 605-06 (Tex. App.--Houston [1st Dist.] 1999, no pet.).

	We therefore dismiss the appeal for lack of jurisdiction.

	All pending motions are denied as moot.

	It is so ORDERED.

PER CURIAM

Panel consists of Justices Taft, Hanks, and Alcala.

Do not publish.  Tex. R. App. P. 47.2(b).


